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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LOVE AND MADNESS, INC.,

                               Plaintiff,

       -v-
                                                         CIVIL ACTION NO.: 21 Civ. 1913 (SLC)


CLAIRE’S HOLDINGS LLC; CBI DISTRIBUTING CORP.
                                                                             ORDER
D/B/A “CLAIRE’S,” “ICING,” “CLAIRE’S
ACCESSORIES” AND “ICING BY CLAIRE’S”; CLAIRE’S
ACCESSORIES UK LTD.; AND CLAIRE’S STORES INC.

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       Presently before the Court is the Motion of Plaintiff Love and Madness, Inc. (“Love and

Madness”) to Approve Settlement and Enter Final Judgment to Enforce Settlement (ECF No. 131

(the “Motion”). The parties having consented to this Court’s jurisdiction for all purposes (ECF No.

130), Court will hear and resolve the Motion as follows:

       (1)    The Court will exercise its jurisdiction over the claimed lien asserted by Barton LLP

(“Barton”) (see generally ECF Nos. 81; 92; 133 ¶ 4), and will determine and set the amount of

that lien to enable Love and Madness, and Defendants Claire’s Holdings LLC, CBI Distributing

Corp., Claire’s Accessories UK Ltd., and Claire’s Stores Inc. (collectively, “Claire’s”) to effect the

purpose of their Settlement Agreement. (See ECF No. 133 ¶ 3).

       (2)     The Court sets the following briefing schedule for the Motion:

                  a. By July 22, 2022, Barton shall present the full amount of its claimed lien on

                      this case, with supporting declaration and exhibits (“Barton’s Submission”);

                  b. By August 5, 2022, Love and Madness shall respond to Barton’s Submission,

                      with supporting declaration and exhibits as necessary; and
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                   c. By August 12, 2022, Barton shall file its reply, if any.

                   d. On receipt of the above submissions, the Court will determine whether

                      oral argument will be scheduled.

         (3)     The Court hereby authorizes Claire’s to make the payment under the terms of the

Parties’ Settlement Agreement without Claire’s bearing any liability to Barton; and

         (4)     Love and Madness is directed to serve the Motion and this Order to Barton within

three (3) business days and file proof of service on the docket.


Dated:           New York, New York                            SO ORDERED.
                 June 29, 2022
